     Case 2:24-cr-00091-ODW    Document 87-1 Filed 06/24/24   Page 1 of 2 Page ID
                                        #:1216


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     UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                No. 2:24-cr-00091-ODW
13
               Plaintiff,                     [PROPOSED] ORDER GRANTING
14                                            GOVERNMENT’S APPLICATION FOR
                     v.                       PERMISSION TO FILE AN OVERSIZED
15                                            BRIEF
     ALEXANDER SMIRNOV,
16
               Defendant.
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19
          On June 24, 2024, the Government filed (1) an ex parte, in camera,
20
     and sealed Motion and Memorandum of Law in Support for a Protective
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     Order Pursuant to Section 4 of the Classified Information Procedures
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     Act (“CIPA”) and Federal Rule of Criminal Procedure 16(d)(1); and (2)
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     an Application for Permission to File an Oversized Brief (related to
24
     the Motion for a Protective Order).
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          For the reasons stated in the Government’s application, the Court
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     finds good cause to allow for the filing of a brief that exceeds the
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     Court’s usual word limit (7,000 words).          Therefore, the Government’s
28
     application is GRANTED, and the Court will accept the Government’s ex
     Case 2:24-cr-00091-ODW   Document 87-1 Filed 06/24/24     Page 2 of 2 Page ID
                                       #:1217


1    parte, in camera, and sealed Motion and Memorandum of Law in Support

2    for   a   Protective   Order   as   filed   with   the   Classified   Information

3    Security Officer.

4    IT IS SO ORDERED.

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6
      DATE                                       HONORABLE OTIS D. WRIGHT II
7                                                UNITED STATES DISTRICT JUDGE
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